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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

ERIN SMITH, et al.                          *

       Plaintiffs                           *

v.                                          *       Case No. 21-CV-02170

DAVID WALLS-KAUFMAN, et al                  *

       Defendants                           *

             Plaintiff’s Exhibits – Summary Judgment and Motion in Limine Briefing



 1                         First Amended Complaint (08/14/21)

 2                         Defendant’s Answers to Interrogatories

 3                         Deposition Transcript from David Walls-Kaufman (02/27/25)

 4                         Docket Entries
                           Erin Smith v David Walls-Kaufman, Case No. 21-CV-02170

 5                         Second Amended Complaint

 6                         Expert Report – Grant Fredericks 07/06/22
                           CV
                           Declaration

 6-A                       Fredericks Synchronized Video

 7                         Docket Entries and Judgment
                           United States v David Walls-Kaufman, Case No. 22-CR-216

 8                         Statement of Offense
                           United States v David Walls-Kaufman, Case No. 22-CR-216

 9                         Dr. Arden Report 08/13/21 & 02/28/25

 10                        Presidential Pardon of 01/06/25

 11                        Dr. Sheehan’s Report 07/12/21 & 03/08/22
                           -CV

 12                        Text Message from Jeffrey Smith to Erin Smith 01/06/25
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13                   Dr. Bardey’s Report 02/21/21
                     -Declaration
                     -CV

14                   Jeffrey Smith BWC
